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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



ELLIS RAY HICKS                                                CIVIL ACTION NO.

VERSUS                                                         19-108-SDD-RLB


DEPARTMENT OF PUBLIC SAFETY &
CORRECTIONS, ET AL.




                        ORDER OF STAY AND ADMINISTRATIVE CLOSURE

          Considering the Notice of Appeal1 filed by Defendants in this matter, IT IS

ORDERED that these proceedings are hereby STAYED and ADMINISTRATIVELY

CLOSED pending resolution by the United States Fifth Circuit Court of Appeals. The

Parties shall move to re-open this matter within 30 days of a decision by the Fifth Circuit.

The Clerk of Court is ordered to terminate any pending motions during the pendency of

this stay. All motions shall be returned to pending status once the stay is lifted and the

closure has ended.

          IT IS SO ORDERED.

          Baton Rouge, Louisiana this 21st day of May, 2020.


                                          S
                                       CHIEF JUDGE SHELLY D. DICK
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA




1
    Rec. Doc. No. 50.


Document Number: 60411
